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Robert Emert
2351 Vista Lago Terrace
Escondido, CA 92029
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                              Southern District of California     BY      • ~         .     ._.DEPUTY




 Robert Emert,                               MOTION FOR CONSOLIDATED EXPEDITED
                                             REVIEW BY A SINGLE THREE-JUDGE
               Plaintiff,
                                             PANEL, PRE-DISCOVERY, EVIDENTIARY
 vs.                                         HEARING AND EARLY CASE MANAGEMENT
                                             CONFERENCE UNDER CASES;

 Andrea Schuck, Jose Badillo,
 County of San Diego, in their               1. Case No. '24CV067~        SB
 official capacity, DOA Dawn
 Balerio and DAI Luis Pena
                                             2. Case No. '24CV0002AHGAGS




                                              RELATED CASES: SD SUPERIOR COURT:
                                              SCD297230; SD SUPERIOR COURT:
                                              19FL010852N; CA SUPREME CT S284407; SO
                                              CAL DISTRICT CT 3:24-CV-00671-JO-MSB;
                                              3:24-CV-00002-ASG-AHG
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MOTION FOR CONSOLIDATED EXPEDITED REVIEW BY A SINGLE THREE-JUDGE PANEL,
PRE-DISCOVERY, EVIDENTIARY HEARING AND EARLY CASE MANAGEMENT CONFERENCE



I. INTRODUCTION



A. Brief overview of the two related cases



This motion pertains to two interrelated federal lawsuits:



1. Case No. '24CV0671 JO MSB: A civil rights action under 42 U.S.C. § 1983, alleging
violations of Plaintiff's Eighth and Fourteenth Amendment rights due to excessive bail and
unlawful pre-trial detention.

2. Case No. '24CV0002AHGAGS: A federal question case under 28 U.S.C. § 1331,
concerning alleged violations of due process rights related to a plea agreement.

Both cases arise from the same underlying criminal proceedings and family court actions,
involving overlapping facts, parties, and egregious constitutional violations that continue
to cause irreparable harm.

The defense for both cases have been assigned to the same San Diego County attorney.

This motion is a bit long and my appologies to the court for this. I am only trying to
have my fair day in court which has been denied me for almost four years now, has
almost killed me (not an exaggeration) and put me unjustly in jail and has shattered
my life.

However, this motion that is a bit long can be summed up in a few lines. This motion is
simply requesting the following which will mostly simply allow me to bring my
evidence to prove both of these cases: MOTION FOR CONSOLIDATED EXPEDITED
REVIEW BY A SINGLE THREE-JUDGE PANEL, PRE-DISCOVERY, EVIDENT/ARY HEARING
AND EARLY CASE MANAGEMENT CONFERENCE.

Anyone who has looked at this case knows that I have the evidence, and it is this
court's duty to simply allow me to bring my evidence and to have my day in court and
to end this manifest injustice that has shattered my life unjustly.
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Regarding Case No. '24CV0002AHGAGS, there exists irrefutable evidence of a plea
agreement that was subsequently breached. This evidence includes:

   1. Recorded Phone Conversations: Plaintiff possesses multiple recorded phone
      conversations that have been transcribed and timestamped. These recordings
      include: a. Several conversations with Plaintiff's former attorney, Jose Badillo, and
      conversations with Plaintiff's ex-wife, Andrea Schuck, discussing the terms of the
      agreement.
   2. Statements from Former Attorney: Jose Badillo explicitly acknowledged that both he
      and Deputy District Attorney Balerio understood that Plaintiff settled the case
       based on an agreement that his son would return home and that if Andrea Schuck
      was backpaddling on this deal that this could be grounds to withdrawal the guilty
      plea.
   3. Clear Pattern of Agreement: When the recorded conversations between Plaintiff,
      Andrea Schuck, and Jose Badillo are reviewed in their entirety, any reasonable
       person would conclude that a plea deal was reached, which included provisions for
       Plaintiff's son to return home.
   4. Failure to Document: While Plaintiff's attorney failed to get the offer in writing, the
       recordings provide clear and convincing evidence of the agreement's existence.



Regarding Case No. '24CV0671 JO MSB, there is overwhelming evidence that no credible
threat was ever made to justify the "no bail" detention and the no bail order was made out
of malicious retaliation of a whistleblower of public corruption of a FEW individuals:

   5. Lack of Credible Threat: The evidence, including the full transcript of the alleged
       threat, clearly demonstrates that Plaintiff's statements did not meet the legal
       standard for a credible threat under California law.
   6. FBI Assessment: An FBI threat assessment, which the DA's office has allegedly
      withheld, reportedly concluded that Plaintiff did not pose a threat.
   7. Disproportionate Response: The imposition of "no bail" for 90 days was grossly
       disproportionate to the alleged offense and Plaintiff's actual circumstances,
       including strong community ties, lack of criminal history, with ZERO flight risk.
   8. Withholding of Exculpatory Evidence: The prosecution allegedly withheld crucial
       exculpatory evidence, including the full context of Plaintiff's statements and the FBI
       threat assessment, which would have negated the basis for the "no bail" detention;
       a phone call and evidence between plaintiff and defendant, DAI Luis Pena, that
       easily proves plaintiff's innocence and a recorded conversation between DDA
       Balario and my son who was almost 16 at the time and clearly competent.
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   9. Board of Supervisors Oversight: Plaintiff sent numerous letters and emails to the
       San Diego County Board of Supervisors, which has direct oversight of the District
       Attorney's office, seeking assistance and alerting them to the misconduct. These
       communications serve as evidence that the supervisory body was made aware of
       the issues and failed to intervene.

This evidence strongly supports Plaintiff's claim of Eighth Amendment violations due to
excessive bail. In Stack v. Boyle, 342 U.S. 1 (1951 ), the Supreme Court held that bail set
higher than an amount reasonably calculated to ensure the defendant's presence at trial is
"excessive" under the Eighth Amendment. The nexus to Plaintiff's case is clear: the
complete denial of bail, despite the lack of a credible threat and Plaintiff's strong
community ties, appears to far exceed what was necessary to ensure his presence at trial.

Furthermore, the Board of Supervisors' failure to act on Plaintiff's communications raises
serious questions about the oversight and accountability of the District Attorney's office.
This systemic failure potentially implicates Monell liability under 42 U.S.C. § 1983, as
established in Monell v. Department of Social Services, 436 U.S. 658 (1978), which held
that local governments can be sued for constitutional violations resulting from official
policy or custom.

This evidence strongly supports Plaintiff's claim of a due process violation stemming from
the breach of the plea agreement. In Santobello v. New York, 404 U.S. 257 (1971 ), the
Supreme Court held that "when a plea rests in any significant degree on a promise or
agreement of the prosecutor, so that it can be said to be part of the inducement or
consideration, such promise must be fulfilled ." The nexus to Plaintiff's case is clear: the
recorded evidence demonstrates that the plea agreement included specific provi sions
regarding custody arrangements, which have not been honored.

The failure to honor this agreement not only violates Plaintiff's due process rights but also
undermines the integrity of the plea bargaining process, a critical component of our
criminal justice system . This breach of agreement, coupled with the alleged misconduct in
the family court proceedings, further exemplifies the systemic issues Plaintiff seeks to
address through this motion.

The Supreme Court has long recognized the importance of addressing interrelated cases
comprehensively. In United Mine Workers of America v. Gibbs, 383 U.S. 715 (1966), the
Court emphasized the judicial economy and convenience of hearing related claims
together. The nexus to Plaintiff's cases is clear: both arise from the same factual
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circumstances and involve overlapping constitutional issues, making consolidated
consideration not just efficient, but necessary for a comprehensive resolution.

Furthermore, the gravity of these cases is compounded by the extensive fraud upon the
court that has pervaded both the family and criminal proceedings. This fraud has
transformed these cases into what can only be described as a "farce and a sham," as
cautioned against in State v. Cahill, 218 N.W.2d 907 (Iowa 1974). The court's persistent
refusal to grant an evidentiary hearing, despite multiple requests and clear justification,
further underscores the systemic nature of this fraud.

Moreover, the conduct described herein rises to the level of fraud upon the court, a severe
allegation that strikes at the heart of the judicial process. While California Code of Civil
Procedure Section 473(d) provides a mechanism to address such fraud at the state level,
the federal equivalent is found in a combination of Federal Rule of Civil Procedure 60(b)(3)
and (d), along with established case law.

Federal Rule of Civil Procedure 60(b)(3) allows relief from a final judgment for "fraud
(whether previously called intrinsic or extrinsic), misrepresentation, or misconduct by an
opposing party." More significantly, Rule 60(d) preserves the court's power to "set aside a
judgment for fraud on the court" without any time limitation. This distinction is crucial, as it
recognizes the fundamental importance of maintaining the integrity of the judicial process.

In the landmark case of Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S. 238 (1944),
the Supreme Court established that federal courts have the inherent power to vacate
judgments obtained through fraud upon the court. The Court emphasized that this power is
"essential to the integrity of the courts, for tampering with the administration of justice in
[this] manner... involves far more than an injury to a single litigant. It is a wrong against the
institutions set up to protect and safeguard the public."

Subsequent cases have further refined the concept of fraud upon the court:

1. Bulloch v. United States, 763 F.2d 1115, 1121 (10th Cir. 1985) defined it as "fraud which
is directed to the judicial machinery itself and is not fraud between the parties or
fraudulent documents, false statements or perjury."

2. Demjanjuk v. Petrovsky, 10 F.3d 338, 348 (6th Cir. 1993) held that fraud upon the court
occurs where it can be demonstrated, clearly and convincingly, that a party has set in
motion some unconscionable scheme calculated to interfere with the judicial system's
ability impartially to adjudicate a matter.
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3. In re lntermagnetics America, Inc., 926 F.2d 912, 916 (9th Cir. 1991) stated that fraud
upon the court involves "an unconscionable plan or scheme which is designed to
improperly influence the court in its decision."

The standard for such fraud is high, typically defined as "egregious misconduct... such as
bribery of a judge or jury or fabrication of evidence by counsel" (Herring v. United States,
424 F.3d 384, 386-87 (3d Cir. 2005)). The actions of the prosecutors and judges in this
case, particularly the withholding of exculpatory evidence and the fabrication of a threat to
justify pre-trial detention, arguably meet this high standard.

It is crucial to note that unlike other grounds for relief under Rule 60(b), which have a one-
year time limit, there is no time limit for bringing an action based on fraud upon the court.
This principle, affirmed in cases like Plaut v. Spendthrift Farm, Inc., 514 U.S. 211 (1995),
recognizes the fundamental importance of maintaining the integrity of the judicial process.

While the burden of proving such fraud is high, requiring clear and convincing evidence
(Shepherd v. American Broadcasting Cos., 62 F.3d 1469, 1477 (D.C. Cir. 1995)), the
extensive documentation provided in this case - including recorded conversations,
withheld transcripts, and conflicting statements from law enforcement officials - presents
a compelling case for fraud upon the court.

The alleged misconduct in this case goes beyond mere procedural errors or differences in
legal interpretation. It represents a systematic effort to subvert the judicial process, deny
the Plaintiff his constitutional rights, and secure a conviction through deception and abuse
of prosecutorial power. Such actions, if proven, would not only justify the vacating of the
conviction but would also necessitate a thorough investigation into the practices of the
San Diego County District Attorney's Office and the judges involved in these proceedings.



The fraud upon the court is evidenced by numerous instances of judicial misconduct
and bias:



1. Retired Commissioner Patti Ratekin's actions, including but not limited to:

 a. Stating intent to remove Plaintiff's son to residential care without evidence, violating
due process rights under Troxel v. Granville.

 b. Denying Plaintiff's properly filed CCP §170.6 peremptory challenge, contravening Local
Rule 2.1.18, CA state rule Rule 2.831 (c}, and due process per Catchpole v. Brannon.
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  c. Acting as an unauthorized temporary judge barred by California Rules of Court, rule
2.818(c)(3), making orders void under Fewel v. Fewel.

 d. Terminating Plaintiff's parental rights without proof of unfitness, violating due process
as established in In re B.G.

 e. Ignoring the child's affidavits, witness statements, domestic violence arrests,
psychological evaluations, and pleas to the court, disregarding her duty of fairness under
California Code of Judicial Ethics.

  f. Exhibiting clear bias and preventing questioning of witnesses contrary to confrontation
rights under Davis v. Alaska.

 g. Denying and/or ignoring all requests for an evidentiary hearing.



2. Retired Judge Alksne's conduct, including:

 a. Ignoring motions to disqualify and set aside Ratekin's orders, violating supervisory
duties under CCP 128(a)(8) and 170.1 .

 b. Denying Plaintiff access to hearings and trial after his heart attack, infringing due
process rights under Goldberg v. Kelly.

 c. Entering improper default judgment during Plaintiff's medical incapacitation contrary
to fair hearing rights under Peralta v. Heights Medical Center.

 d. Refusing remote appearances and continuance despite ADA coordinator
recommendations and California Rule of Court 3.1332 on accommodations.

  e. Railroading 4 hearings and a trial inside one month after Plaintiff's heart attack,
disregarding Rule 3.1332 on continuances for medical reasons.

 f. Denying and/or ignoring all requests for an evidentiary hearing.



3. Judge Robinson's ongoing failure to rectify these past injustices, coupled with her
own misconduct:

 a. Most recently, denying Plaintiff's simple ADA disability request accompanied by a
doctor's letter that clearly qualified under ADA and Cal Rules of Court, rule 1.1.

 b. Ignoring the misconduct by Commissioner Ratekin and Judge Alksne.
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 c. Improperly claiming lack of jurisdiction for over a year to avoid addressing Plaintiff's
default challenge, violating the duty to hear jurisdictional matters under Mowrer v. Superior
Court.

 d. Asserting jurisdiction only after Plaintiff was jailed pursuant to the default, precluding
him from contesting it contrary to due process rights established in Nelson v. City of Irvine.

 e. Delaying ruling on the default judgment's validity until after crimina l proceedings
conclude, violating the separation of powers under People v. Superior Court (On Tai Ho).

 f. Refusing to promptly hear the matter despite ongoing irreparable harm from losing
custody rights recognized under California Rules of Court 3.1312(c) and Rodriguez v.
Superior Court.

 g. Obstructing access to justice by contradicting jurisdiction stances and delaying
hearings contrary to Smith v. Lewis.

  h. Misapplying CCP 473(b) regarding Plaintiff's amended RFO's timeliness, disregarding
the relation back doctrine.

 i. Denying and/or ignoring all requests for an evidentiary hearing.



4. Statements from DA Investigator: Perhaps most damning are the recorded statements
from the DA's own investigator, DAI Luis Pena, who explicitly stated in an audio recording
that has been transcribed and timestamped.



 a. The DA should never have taken this case!

 b. I would win if the case went to trial!

 c. My son's lawyer (Matt Cord) had simply aligned with the ex-wife's attorney (Dave
Schulman) and NOT in my sons best interests!

 d. This case does not belong in criminal court!

 e. There is no reason for me to be criminally prosecuted!

 f. I had good cause to protect my son from an illegal/unethical "facility".



 In Berger v. United States, 295 U.S. 78 (1935), the Supreme Court emphasized that the
interest of a pro secutor "is not that it shall win a case, but that justice shall be done." The
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nexus to Plaintiff's case is clear: these statements from an insider within the DA's office
suggest a severe deviation from this standard of conduct and provide strong evidence that
Plaintiff's actions were justified under PC 278.7, negating any violation of PC 278.5(a).

This pattern of misconduct strongly suggests that Plaintiff is being targeted and railroaded
for his role as a whistleblower, exposing corruption within the family court system. The
courts' persistent refusal to address these issues, despite Plaintiff's diligent efforts to
exhaust all available state remedies, has effectively turned these proceedings into a
mockery of justice.

As the Supreme Court emphasized in Tumeyv. Ohio, 273 U.S. 510 (1927), proceedings
before a biased judge are "constitutionally unacceptable." The conduct exhibited by
multiple judges in these cases goes beyond mere bias, rising to the level of systemic fraud
that undermines the very foundation of our judicial system.

This fraud upon the court has resulted in severe and ongoing harm to Plaintiff, including the
loss of fundamental parental rights and the deprivation of a fair opportunity to present his
case. The courts' actions have not only violated Plaintiff's constitutional rights but have
also eroded public trust in the judicial system.

In light of these extraordinary circumstances, the relief sought in this motion is not merely
justified but imperative. Expedited review by a three-judge panel, coupled with pre-
discovery and an evidentiary hearing, is essential to uncover the full extent of this fraud
and to restore integrity to these proceedings. Failure to address these issues promptly and
thoroughly would only serve to further entrench the "farce and sham" that these cases
have become, inflicting irreparable harm on Plaintiff and undermining the principles of
justice our courts are meant to uphold.



B. Statement of relief sought



Plaintiff respectfully requests the following relief:



1. Expedited Review: Pursuant to 28 U.S.C. § 1657, which provides that courts shall
expedite the consideration of actions of general public importance, Plaintiff seeks
expedited review of both cases. The ongoing alleged violations of fundamental
constitutional rights, particularly those affecting parent-child relationships, necessitate
urgent attention. As held in Adem v. Bush, 425 F. Supp. 2d 7 (D.D.C. 2006), expedited
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review is appropriate where there are "ongoing, alleged violations of constitutional rights ."
The nexus to Plaintiff's cases is clear: the alleged ongoing deprivation of custody rights and
the consequences of an allegedly coerced plea agreement continue to impact Plaintiff's
constitutional rights daily. Furthermore, in Sampson v. Murray, 415 U.S. 61 (1974), the
Supreme Court noted that expedited proceedings are particularly appropriate where there
is a significant public interest at stake. The nexus here is evident: the alleged systemic
issues in the local judicial processes implicate not just Plaintiff's rights, but the integrity of
the judicial system itself, warranting urgent attention.



2. Appointment of a Three-Judge Panel: Under 28 U.S.C. § 2284, Plaintiff requests the
appointment of a three-judge panel. While typically reserved for specific types of cases,
the exceptional circumstances here - involving complex constitutional issues spanning
criminal and family law, and allegations of systemic issues in local judicial processes -
warrant such an appointment. In Shapiro v. Mc Manus, 577 U.S. 39 (2015), the Supreme
Court clarified the broad discretion courts have in convening such panels. The nexus to
Plaintiff's cases lies in the intertwined nature of the constitutional claims across two
federal suits, the alleged systemic issues in local courts, and the novel legal questions
presented. In Allen v. State Board of Elections, 393 U.S. 544 (1969), the Supreme Court
noted that three-judge courts are appropriate for cases of 'public concern.' The nexus to
Plaintiff's cases is clear: the alleged systemic misconduct and constitutional violations
raise issues of broad public importance, affecting not just Plaintiff but potentially many
others subject to the local judicial system.



3. Pre-Discovery: Plaintiff seeks pre-discovery under Federal Rules of Civil Procedure
26(d) and 34. As established in Notaro V . Koch, 95 F.R.D. 403 (S.D.N .Y. 1982), early
discovery may be granted upon showing good cause. The nexus here is the critical need for
key evidence - including plea negotiation transcripts, FBI threat assessments, and
complete DA files - to substantiate Plaintiff's claims and facilitate expedited review.
Without this evidence, Plaintiff argues that a fair and expeditious resolution of the
constitutional issues at stake is impossible. In Oppenheimer Fund, Inc. v. Sanders, 437
U.S. 340 (1978), the Supreme Court affirmed the broad discretion of district courts in
managing discovery. The nexus here is that the unique circumstances of Plaintiff's cases -
involving alleged withholding of crucial evidence - necessitate early and thorough
discovery to ensure a fair proceeding.
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4. Early Case Management Conference: Under Federal Rule of Civil Procedure 16,
Plaintiff requests an early case management conference. The Ninth Circuit in In re
Phenylpropanolamine (PPA) Products Liability Litigation, 460 F.3d 1217 (9th Cir. 2006),
emphasized the importance of such conferences in complex litigation for efficient case
management. The nexus to Plaintiff's cases is the need for early judicial guidance on
handling the interrelated aspects of both lawsuits, scheduling expedited discovery, and
addressing the unique constitutional issues involved.

5. Evidentiary Hearing: Pursuant to the Due Process Clause of the Fourteenth
Amendment and the principles established in Goldberg v. Kelly, 397 U.S. 254 (1970),
Plaintiff requests an evidentiary hearing to present the substantial evidence of alleged
constitutional violations and judicial misconduct. In Armstrongv. Manzo, 380 U.S. 545,
552 (1965), the Supreme Court emphasized that due process requires "an opportunity to
be heard 'at a meaningful time and in a meaningful manner."' The nexus to Plaintiff's cases
is clear: despite exhausting state and appellate remedies, Plaintiff has been denied any
meaningful opportunity to present evidence in both family and criminal court proceedings.
This hearing is crucial to address the fundamental fairness concerns raised by the alleged
fraud upon the court and to ensure that all relevant facts are properly considered before
the Court makes its determinations. Given the gravity of the constitutional issues at stake
and the potential systemic implications of the alleged misconduct, an evidentiary hearing
is not just warranted but essential for the fair administration of justice.

These requested forms of relief, supported by statutory authority and relevant case law,
are essential to address the ongoing alleged constitutional violations, prevent further harm
to parent-child relationships, and ensure an efficient and just resolution of the complex
legal issues presented in these interrelated cases. In Mathews v. Eldridge, 424 U.S. 319
(1976), the Supreme Court established a balancing test for determining what process is
due in any given case. Applying this test to Plaintiff's situation, the private interest affected
(parental rights) is paramount, the risk of erroneous deprivation without a hearing is high
given the complexity of the issues, and the government's interest in avoiding a hearing is
minimal compared to the importance of ensuring justice. Thus, the nexus to Mathews
strongly supports granting an evidentiary hearing.

These requests are interconnected and mutually reinforcing. Expedited review
necessitates pre-discovery to ensure all relevant evidence is available. The complexity of
the issues justifies a three-judge panel, which in turn requires an early case management
conference to coordinate effectively. An evidentiary hearing is crucial to present the full
scope of evidence uncovered during pre-discovery. Together, these measures form a
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comprehensive approach to addressing the alleged constitutional violations and fraud
upon the court.

Granting these requests would significantly promote judicial economy by allowing for a
comprehensive and efficient resolution of these interrelated issues. Consolidated review
by a three-judge panel would prevent duplicative proceedings and potentially inconsistent
rulings. Pre-discovery and an evidentiary hearing would ensure that all relevant facts are
presented upfront, potentially streamlining the entire legal process and conserving judicial
resources in the long run.

Failure to grant these requests WILL result in continued irreparable harm to the Plaintiff's
constitutional rights, particularly his parental rights. Plaintiff has almost died several times
due to this fiasco mostly orchestrated by Dave Schulman and his well-connected minions.
It may perpetuate the alleged fraud upon the court, undermining public trust in the judicial
system. Moreover, addressing these complex issues piecemeal could lead to inconsistent
rulings, prolonged litigation, and inefficient use of judicial resources.

Having established the gravity of the issues at hand and the necessity of the requested
relief, this motion will now proceed to detail the factual background and legal arguments
supporting each request.

What this case boils down to is that I had EVERY legal right to protect my son from abuse
under legal necessity/ PC 278.7 and all interested parties knew it and is why I have been
denied a simple evidentiary hearing for almost 4 years now to bring my evidence forward.
Retired Comm. Patti Ratekin did not have jurisdiction after she denied a proper peremptory
challenge filed in Sept 2021 and me and my children have been living in terror ever since
due to the moral turpitude of Dave Schulman, Patti Ratekin, Matt Cord and a few others. I
am still confident when this case finally gets to the 9 th circuit that this farce and a sham of
proceedings will come down like a house of cards with a fair and impartial judge. Patti
Rate kins supervising Judges wife worked with and was friends with my x wife and I have a
recording that proves that my x wife and Dave Schulman were well aware of this conflict of
interest. Dave Schulman went running for cover to retired Judge Lorna Alknse who tried to
cover this mess up and Judge Robinson is too afraid to provide simple justice for whatever
reason. The retired judges I have spoken with tell me why but are not going to get into it
here. And, you don't have to take my word for it, listen to the recording between me and
District Attorney Investigator Luis Pena where he told me that my sons attorney, Matt Cord,
was not working in my son's best interests and had simply lined up with Dave Schulman to
put something together against me. DAI Luis Pena further stated many times in a
roundabout way that the family court judges should let my son live with me according to
the law; I would win if this case w ent to trial and the DA only was moving forward due to the
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family court lawyers using their connections to put something together against me do to
my whistleblowing on a few unethical individuals with their blatant moral turpitude. I told
DAI Luis Pena that I really did nothing wrong other than being a great Dad. Luis Pena's
response was, well, "YOU PISSED THEM OFF". That is not any justice that I would be
familiar with in our United States of America! I deserve to have my fair day in court, and I
would appreciate this court following the rule of law and granting my requests so I can
move on with a jury trial and finally receive some justice after this RICO crew of thugs
almost killed me by attempting to throw my son into a "facility" and then getting their
cronies to throw me in jail for 90 days. I was simply a great father who told these RICO
thugs of the family court, not on my watch and I had EVERY legal right to say and act as I
did.

Furthermore, the evidence that has all been withheld that I am asking this court to review
will easily and simply prove my assertions.

The fraud upon the court is evidenced by numerous instances of judicial misconduct
and bias:

   1. Retired Commissioner Patti Ratekin's actions, including but not limited to: a. Stating
       intent to remove Plaintiff's son to residential care without evidence, violating due
       process rights under Troxel v. Granville. b. Denying Plaintiff's properly filed CCP
       §170.6 peremptory challenge, contravening Local Rule 2.1.18, CA state rule Rule
       2.831 (c), and due process per Catchpole v. Brannon. c. Acting as an unauthorized
       temporary judge barred by California Rules of Court, rule 2.818(c)(3), making orders
       void under Fewel v. Fewel. d. Terminating Plaintiff's parental rights without proof of
       unfitness, violating due process as established in In re B.G. e. Ignoring the child's
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       evaluations, and pleas to the court, disregarding her duty of fairness under
       California Code of Judicial Ethics. f. Exhibiting clear bias and preventing questioning
       of witnesses contrary to confrontation rights under Davis v. Alaska . g. Denying
       and/or ignoring all requests for an evidentiary hearing.
   2. Retired Judge Alksne's conduct, including: a. Ignoring motions to disqualify and set
       aside Ratekin's orders, violating supervisory duties under CCP 128(a)(8) and 170.1.
       b. Denying Plaintiff access to hearings and trial after his heart attack, infringing due
       process rights under Goldberg v. Kelly. c. Entering improper default judgment during
       Plaintiff's medical incapacitation contrary to fair hearing rights under Peralta v.
       Heights Medical Center. d. Refu sing remote appearances and continuance despite
       ADA coordinator recommendations and California Rule of Court 3.1332 on
       accommodations. e. Railroading 4 hearings and a trial inside one month after
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       Plaintiff's heart attack, disregarding Rule 3.1332 on continuances for medical
       reasons. f. Denying and/or ignoring all requests for an evidentiary hearing.
   3. Judge Robinson's ongoing failure to rectify these past injustices, coupled with her
       own misconduct: a. Most recently, denying Plaintiff's simple ADA disability request
       accompanied by a doctor's letter that clearly qualified under ADA and Cal Rules of
       Court, rule 1.1. b. Ignoring the misconduct by Commissioner Ratekin and Judge
       Alksne. c. Improperly claiming lack of jurisdiction for over a year to avoid addressing
       Plaintiff's default challenge, violating the duty to hear jurisdictional matters under
       Mowrer v. Superior Court. d. Asserting jurisdiction only after Plaintiff was jailed
       pursuant to the default, precluding him from contesting it contrary to due process
       rights established in Nelson v. City of Irvine. e. Delaying ruling on the default
       judgment's validity until after criminal proceedings conclude, violating the
       separation of powers under People v. Superior Court (On Tai Ho). f. Refusing to
       promptly hear the matter despite ongoing irreparable harm from losing custody
       rights recognized under California Rules of Court 3.1312(c) and Rodriguez v.
       Superior Court. g. Obstructing access to justice by contradicting jurisdiction
       stances and delaying hearings contrary to Smith v. Lewis. h. Misapplying CCP
       473(b) regarding Plaintiff's amended RFO's timeliness, disregarding the relation
       back doctrine. i. Denying and/or ignoring all requests for an evidentiary hearing.

This pattern of misconduct strongly suggests that Plaintiff is being targeted and railroaded
for his role as a whistleblower, exposing corruption within the family court system. The
courts' persistent refusal to address these issues, despite Plaintiff's diligent efforts to
exhaust all available state remedies, has effectively turned these proceedings into a
mockery of justice.

As the Supreme Court emphasized in Tumey v. Ohio, 273 U.S. 510 (1927), proceedings
before a biased judge are "constitutionally unacceptable." The conduct exhibited by
multiple judges in these cases goes beyond mere bias, rising to the level of systemic fraud
that undermines the very foundation of our judicial system.

This fraud upon the court has resulted in severe and ongoing harm to Plaintiff, including the
loss of fundamental parental rights and the deprivation of a fair opportunity to present his
case. The courts' actions have not only violated Plaintiff's constitutional rights but have
also eroded public trust in the judicial system.

In light of these extraordinary circumstances, the relief sought in this motion is not merely
justified but imperative. Expedited review by a three-judge panel, coupled with pre-
discovery and an evidentiary hearing, is essential to uncover the full extent of this fraud
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and to restore integrity to these proceedings. Failure to address these issues promptly and
thoroughly would only serve to further entrench the "farce and sham" that these cases
have become, inflicting irreparable harm on Plaintiff and undermining the principles of
justice our courts are meant to uphold.



II. BACKGROUND



Introduction: Key Evidence Underscoring the Urgency and Merit of Plaintiff's Claims



Before delving into the specifics of each case, it is crucial to highlight the compelling
evidence that forms the foundation of Plaintiff's claims and underscores the urgency of the
requested relief:

1. Recorded Phone Conversations and Email Communications: Plaintiff possesses
multiple recorded phone conversations and email exchanges that provide irrefutable
evidence of a plea deal that was subsequently reneged upon. These recordings include:

 a. Conversations with Plaintiff's former attorney, Jose Badillo, where Jose Badillo makes it
very clear that plaintiff took the plea deal and "resolved the case" based on his son coming
home.

 b. Emails and phone calls with Andrea Schuck making it very clear that a plea deal had
been arranged between plaintiff's attorney, Jose Badillo, and ODA Balerio.

 In Santobello v. New York, 404 U.S. 257 (1971 ), the Supreme Court held that "when a plea
rests in any significant degree on a promise or agreement of the prosecutor, so that it can
be said to be part of the inducement or consideration, such promise must be fulfilled." The
nexus to Plaintiff's case is clear: these recordings and emails demonstrate that the plea
agreement included specific provisions regarding custody arrangements, which have not
been honored.

In United States v. Vaval, 404 F.3d 144, 152 (2d Cir. 2005), the court held that "where a plea
agreement has been reached as a result of plea negotiations, the agreement must be
construed in light of the reasonable understanding of the parties as to its terms."

Nexus: The recorded conversations and emails in Plaintiff's possession provide clear
evidence of the parties' understanding of the plea agreement terms, particularly regarding
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custody arrangements. This evidence is crucial for interpreting the agreement under the
Vaval standard.

2. Withholding of Exculpatory Evidence: There is substantial evidence that the District
Attorney's office withheld crucial exculpatory evidence, including:

 a. A transcript of an interview between DDA Balerio and Plaintiff's son, which was not
disclosed to the defense

 b. FBI reports indicating that Plaintiff was not considered a threat

 This conduct directly contravenes the principles established in Bradyv. Maryland, 373
U.S. 83 (1963), where the Supreme Court held that the suppression of evidence favorable
to an accused violates due process. The nexus here is the DA's alleged failure to disclose
evidence that could have significantly impacted both the criminal proceedings and related
family court matters.

In Kyles v. Whitley, 514 U.S. 419, 437 (1995), the Supreme Court emphasized that
prosecutors have a duty to learn of any favorable evidence known to others acting on the
government's behalf.

Nexus: The alleged withholding of the FBI threat assessment and the interview transcript
with Plaintiff's son potentially violates the prosecutor's duty as outlined in Kyles, extending
beyond just the evidence in their direct possession.

3. Statements from DA Investigator: Perhaps most damning are the recorded statements
from the DA's own investigator, DAI Luis Pena, who explicitly stated:

 a. The DA should never have taken this case!

 b. I would win if the case went to trial!

 c. My son's lawyer, Matt Cord, had simply aligned with the ex-wife's attorney, Dave
Schulman, and against the child's best interests!

 In Berger v. United States, 295 U.S. 78 (1935), the Supreme Court emphasized that the
interest of a prosecutor "is not that it shall win a case, but that justice shall be done." The
nexus to Plaintiff's case is clear: these statements from an insider within the DA's office
suggest a severe deviation from this standard of conduct.

In Giglio v. United States, 405 U.S. 150 (1972), the Court held that the prosecution's failure
to disclose evidence that could be used to impeach the credibility of a witness violates due
process.
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 Nexus: The statements from DAI Luis Pena could potentially be used to impeach the
credibility of the prosecution's case against Plaintiff. The failure to disclose these
statements may constitute a Giglio violation .

4. Ongoing Harm and Constitutional Violations: This evidence points to ongoing violations
of Plaintiff's constitutional rights, including:

  a. Deprivation of liberty without due process

  b. Infringement on fundamental parental rights

  c. Potential Eighth Amendment violations related to excessive bail

 As the Supreme Court stated in Elrod v. Burns, 427 U.S. 347 (1976), "The loss of First
Amendment freedoms, for even minimal periods of time, unquestionably constitutes
irreparable injury." By extension, the ongoing deprivation of fundamental constitutional
rights, including parental rights, constitutes a form of irreparable harm that demands
immediate attention .

Given the weight and clarity of this evidence, it is Plaintiff's contention that any failure by
the court to consider these irrefutable facts would constitute a "farce and a sham" of
judicial proceedings, as cautioned against in United States v. Cronic, 466 U.S. 648 (1984).
The nexus here is that the evidence Plaintiff presents goes beyond mere allegations,
offering clear proof of unfairness and misconduct that demands thorough and expedited
review.

This body of evidence not only substantiates Plaintiff's claims but also underscores the
urgency of the relief sought in this motion. It demonstrates that without swift action, there
is a real and ongoing risk of continued violation of Plaintiff's constitutional rights and
further harm to the parent-child relationship.

Given the weight and clarity of this evidence, it is Plaintiff's contention that any failure by
the court to consider these irrefutable facts or to allow their presentation to a jury would
constitute a "farce and a sham" of judicial proceedings. The Supreme Court, in Bracy v.
Gramley, 520 U.S. 899 (1997), emphasized that the Constitution guarantees "a fair trial in a
fair tribunal," and that this fairness extends to all phases of the trial process. The nexus to
Plaintiff's case is clear: the extensive evidence presented here - including recorded
conversations, emails, and statements from a DA investigator - is so probative and
material to the alleged constitutional violations that its exclusion from jury consideration
would render any proceeding fundamentally unfair.
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Furthermore, in Foster v. Chatman, 578 U.S. 488 (2016), the Court demonstrated its
willingness to closely examine evidence of misconduct in the judicial process, even years
after the fact. The Court stated that "prosecutors must give race-neutral reasons for their
strikes if the defendant has made out a prima facie case of racial discrimination." By
analogy, when a plaintiff presents prima facie evidence of prosecutorial misconduct and
constitutional violations, as is the case here, the court has an obligation to allow thorough
examination of that evidence.

In Washington v. Glucksberg, 521 U.S. 702, 720 (1997), the Court recognized that the Due
Process Clause "protects those fundamental rights and liberties which are, objectively,
deeply rooted in this Nation's history and tradition."

Nexus: Plaintiff's right to parent his children and maintain family integrity is such a
fundamental right, and the ongoing separation violates this deeply rooted liberty interest.

In Armstrong v. Manzo, 380 U.S. 545,552 (1965), the Court emphasized that due process
requires "an opportunity to be heard 'at a meaningful time and in a meaningful manner."'

Nexus: Plaintiff's allegations that he has been denied meaningful opportunities to present
evidence in both family and criminal court proceedings directly relate to this fundamental
due process requirement.

In Puckett v. United States, 556 U.S. 129, 137 (2009), the Court stated that "when the
Government breaches a plea agreement, the defendant's Sixth Amendment right to
counsel in plea negotiations is especially important."

Nexus: The alleged breach of the plea agreement in Plaintiff's case, particularly regarding
custody arrangements, implicates this important Sixth Amendment protection and
underscores the need for careful scrutiny of the agreement's terms and implementation.

Therefore, Plaintiff argues that the interests of justice, as well as the preservation of
constitutional guarantees, demand that this evidence be fully considered and, where
appropriate, presented to a jury. To do otherwise would risk turning these proceedings into
the very "farce and sham" that the Supreme Court warned against in Brookhart v. Janis, 384
U.S. 1 (1966), where it held that a defendant's constitutional rights cannot be left to th e
mercy of strategic decisions made without the defendant's full understanding and
consent.

This body of evidence not only substantiates Plaintiff's claims but also underscores the
urgency of the relief sought in this motion. It demonstrates that without swift action to
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ensure full consideration of this evidence, there is a real and ongoing risk of continued
violation of Plaintiff's constitutional rights, further harm to the parent -child relationship,
and a fundamental miscarriage of justice.



A. Summary of Case No. 1 (Civil rights action under 42 U.S.C. § 1983)



Case No. '24CV0671 JO MSB is a civil rights action brought under42 U.S.C. § 1983,
alleging violations of Plaintiff's Eighth and Fourteenth Amendment rights. The core claims
involve:



1. Excessive Bail: Plaintiff alleges that the imposition of "no bail" for 90 days violated his
Eighth Amendment rights. In Stack v. Boyle, 342 U.S. 1 (1951 ), the Supreme Court held that
bail set higher than necessary to ensure the defendant's presence at trial is "excessive"
under the Eighth Amendment. The nexus to Plaintiff's case is clear: the complete denial of
bail, despite Plaintiff's strong community ties and lack of flight risk, appears to exceed
what was necessary to ensure his presence at trial.

2. Due Process Violations: Plaintiff claims violations of his Fourteenth Amendment due
process rights, particularly regarding his pre-trial detention . In Bell v. Wolfish, 441 U.S. 520
(1979), the Court established that pre-trial detainees retain their constitutional rights. The
nexus here is Plaintiff's allegation that exculpatory evidence was withheld, and that his
detention was punitive rather than regulatory in nature.



B. Summary of Case No. 2 (Federal question jurisdiction under 28 U.S.C. § 1331)



Case No. '24CV0002AHGAGS is brought under federal question jurisdiction, 28 U.S.C. §
1331, alleging:



 1. Breach of Plea Agreement: Plaintiff contends that the terms of his plea agreement,
 particularly regarding custody arrangements, have not been honored. In Santobello v. New
 York, 404 U.S. 257 (1971 ), the Supreme Court held that when a plea rests on a promise or
agreement, such promise must be fulfilled. The nexus to Plaintiff's case is the alleged
failure to fulfill the custody-related promises that formed the basis of his plea.
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2. Due Process in Custody Matters: Plaintiff argues that his due process rights in family
court proceedings have been violated. The Supreme Court in Troxel v. Granville, 530 U.S.
57 (2000), affirmed that parents have a fundamental liberty interest in the care, custody,
and control of their children. The nexus here is Plaintiff's contention that his parental rights
are being infringed upon without due process.

C. Shared factual and legal background of both cases

Both cases stem from the same underlying criminal proceedings and family court actions,
sharing several key elements. As mentioned before, this case boils down to retired
Commissioner Patti Ratekin NOT having jurisdiction after failing to recuse wtih a proper
peremptory challenge which was CLEARLY due to a conflict of interest where her
supervising judge's wife was/is friends co-workers with my x wife. Because of this huge
conflict that was known by my x wife and Dave Schulman, these thugs tried to scam a pro
se litigant and throw his son in a "facility" for profit, divorce leverage and cronyism. When I
said not going to happen and Whistle blew on these individuals, the system came crashing
down on me and almost killed me. And, you don't have to take my word for it. In DAI Luis
Pena own words when I told him I did not do anything wrong or illegal, his words were,
"WELL, YOU PISSED THEM OFF".



1. Intertwined Constitutional Issues: Both cases involve alleged violations of fundamental
constitutional rights, including due process, protection against excessive bail, and
parental rights. In Daniels v. Williams, 474 U.S. 327 (1986), the Supreme Court emphasized
that the Due Process Clause was intended to secure individuals against arbitrary
government action. The nexus to Plaintiff's cases is the allegation of arbitrary actions by
prosecutors and judges in both the criminal and family court proceedings.

2. Alleged Prosecutorial Misconduct: Both cases involve claims of prosecutorial
misconduct, particularly regarding the withholding of exculpatory evidence. In Bradyv.
Maryland, 373 U.S. 83 (1963), the Court held that the suppression of evidence favorable to
an accused violates due process. The nexus here is Plaintiff's allegation that prosecutors
withheld crucial evidence in both the criminal case and related family court matters.

3. Plea Agreement Implications: The plea agreement at the center of these cases has far-
reaching implications for both Plaintiff's criminal case and his family court matters. In
Mabry v. Johnson, 467 U.S. 504 (1984), the Court noted that plea agreements are subject to
contract-law standards. The nexus to Plaintiff's cases is the contention that the plea
agreement, which allegedly included provisions about custody, has not been honored,
affecting both the criminal and family court proceedings.
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4. Ongoing Harm: Both cases allege ongoing harm due to the continued separation from
 Plaintiff's children. In Santo sky v. Kramer, 455 U.S. 745 (1982), the Court recognized the
fundamental liberty interest of natural parents in the care, custody, and management of
their children. The nexus here is the alleged ongoing violation of this fundamental right
across both cases.

This shared background demonstrates the deeply intertwined nature of these two cases,
underscoring the need for coordinated and expedited review to address the alleged
ongoing constitutional violations and prevent further harm to the parent-child relationship.

In light of the compelling evidence presented in both lawsuits and briefly recapped in this
motion, the intertwined nature of these cases, and the ongoing constitutional violations
alleged, it is clear that these matters require immediate and comprehensive judicial
attention. The complexity of the issues at hand, spanning both criminal and family law,
coupled with the serious allegations of prosecutorial misconduct and constitutional rights
violations, necessitates an approach that is both thorough and expeditious.

Firstly, expedited review is crucial to address the ongoing harm to the parent-child
relationship and the alleged continued infringement of Plaintiff's constitutional rights. As
noted in Elrod v. Burns, even minimal periods of constitutional deprivation constitute
irreparable injury. Here, the separation from Plaintiff's children and the alleged violations
of due process rights have persisted for an extended period, amplifying the urgency for
swift judicial intervention.

Secondly, the appointment of a three-judge panel is warranted given the exceptional
circumstances of these cases. The allegations of systemic issues within the San Diego
 DA's office and courts, combined with the novel legal questions presented regarding the
intersection of criminal plea agreements and family court matters, demand the collective
wisdom and authority of a three-judge panel. As highlighted in Shapiro v. McManus, such
 panels are appropriate for cases of particular complexity and importance.

Thirdly, pre-discovery is essential to uncover the full extent of the alleged misconduct and
constitutional violations. The evidence already in Plaintiff's possession - including
 recorded conversations with the DA's investigator and withheld exculpatory evidence -
suggests that further discovery could reveal additional crucial information. As established
in Notaro v. Koch, early discovery is appropriate when there is good cause, which is
abundantly evident in these cases.

 Finally, an early case management conference is necessary to efficiently coordinate these
 interrelated cases and address the unique challenges they present. As emphasized in In re
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Phenylpropanolamine (PPA) Products Liability Litigation, such conferences are vital for
managing complex litigation effectively.

In conclusion, the relief sought - expedited review, appointment of a three-judge panel,
pre-discovery, an early case management conference AND A BASIC EVIDENTIRY
HEARING- is not only justified but essential to ensure that justice is served and that
Plaintiff's constitutional rights are protected. To deny or delay this relief would risk
perpetuating the alleged violations and could, as cautioned in Brookhart v. Janis, turn
these proceedings into a "farce and sham." The evidence presented and the fundamental
rights at stake demand nothing less than the full and immediate attention of this Court.



Ill. ARGUMENT



A. The Cases Are Interconnected and Warrant Consolidated Treatment



The two cases at hand, Case No. '24CV0671 JO MSB and Case No. '24CV0002AHGAGS,
are inextricably intertwined and demand consolidated treatment for the following reasons:



1. Overlapping Constitutional Rights Violations:

Both cases allege fundamental violations of Plaintiff's constitutional rights, stemming from
the same series of events. In United States v. McIntosh, 580 F.3d 1222, 1225 (11th Cir.
2009), the court emphasized that "consolidation is particularly appropriate when the
actions are likely to involve substantially the same witnesses and arise from the same
series of events or facts." The nexus to Plaintiff's cases is clear: both involve alleged
violations of due process, excessive bail, and parental rights, all arising from the same
criminal proceedings and subsequent family court actions.



2. Common Defendants and Key Facts:

The cases share key defendants, including the San Diego County District Attorney's Office
and specific prosecutors. In Johnson v. Manhattan Ry. Co., 289 U.S. 479,496 (1933), the
Supreme Court noted that consolidation is appropriate "when the cases involve a common
question of law or fact." Here, the common defendants and shared factual background
create a substantial overlap in both law and fact, making consolidated treatment not just
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appropriate, but necessary for efficient and consistent adjudication. In Schaffer v. Below,
278 F.2d 619, 621 (3d Cir. 1960), the court held that "consolidation is permitted as a matter
of convenience and economy in administration, but does not merge the suits into a single
cause, or change the rights of the parties."



3. Shared Origin in Underlying Criminal and Family Court Proceedings:

Both cases originate from the same criminal case and its impact on family court
proceedings. In Dupont v. Southern Pacific Co., 366 F.2d 193, 195 (5th Cir. 1966), the court
stated that consolidation is proper when "the actions arise from the same transaction or
occurrence." The nexus here is evident: the plea agreement in the criminal case directly
affects the family court matters, creating a single, continuous narrative of alleged
constitutional violations.



4. Judicial Economy and Consistency:

Consolidated treatment would seNe judicial economy and ensure consistency in rulings.
In Hendrix v. Raybestos-Manhattan, Inc., 776 F.2d 1492, 1495 (11th Cir. 1985), the court
emphasized that consolidation helps "to avoid unnecessary costs or delay." Given the
substantial overlap in evidence, witnesses, and legal issues between these cases,
separate proceedings would likely result in duplicative efforts and potentially inconsistent
outcomes.



5. Comprehensive Resolution of Interrelated Issues:

The interconnected nature of these cases demands a holistic approach to resolution. As
noted in Ikerd v. Lapworth, 435 F.2d 197, 204 (7th Cir. 1970), consolidation is appropriate
when it "will tend to avoid unnecessary costs or delay without prejudice to any party."
Here, consolidated treatment would allow for a compreh ensive examination of all related
issues, ensuring that the full context of Plaintiff's claims is considered .



6. Prevention of Piecemeal Litigation:

Separate proceedings risk piecemeal litigation, which courts have consistently
discouraged. In Cottrell v. Duke, 737 F.3d 1238, 1242 (8th Cir. 2013), the court warned
against "pi ecemeal review, piec emeal litigation, and inconsistent results." The nexus to
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Plaintiff's cases is clear: the intertwined nature of the criminal and family court matters
means that decisions in one case would inevitably impact the other, making consolidated
treatment essential to prevent fragmented and potentially contradictory outcomes.



Given these compelling reasons, consolidated treatment of these cases is not merely
beneficial but crucial for the fair and efficient administration of justice. It would allow for a
comprehensive examination of all related constitutional claims, ensure consistency in
rulings, and provide the most effective path to addressing the alleged ongoing harm to
Plaintiff and his children.



B. Expedited Review Is Necessary



The circumstances of these cases demand expedited review for several compelling
reasons:



1. Ongoing Alleged Constitutional Violations Regarding CustodyNisitation Rights:

Plaintiff continues to suffer from alleged violations of his fundamental constitutional
rights, particularly concerning custody and visitation with his children. In Troxel v.
Granville, 530 U.S. 57, 65 (2000), the Supreme Court affirmed that the interest of parents in
the care, custody, and control of their children "is perhaps the oldest of the fundamental
liberty interests recognized by this Court." The nexus to Plaintiff's case is clear: each day
that passes without resolution perpetuates the alleged infringement on this fundamental
right.



2. Potential for Continued Harm to Parent-Child Relationships:

The ongoing separation and restricted contact between Plaintiff and his children pose a
 risk of irreparable harm to their relationships. In Lassiter v. Department of Social Services,
452 U.S. 18, 27 (1981 ), the Court recognized that a parent's "desire for and right to 'the
 companionship, care, custody, and management of his or her children' is an important
 interest that 'undeniably warrants deference and, absent a powerful countervailing
 interest, protection."' The nexus here is the urgent need to address and potentially rectify
 the situation before further damage occurs to these crucial familial bonds.
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3. Urgent Need to Resolve Factual Disputes About Plea Agreement and Pre-Trial Detention:

The unresolved disputes concerning the plea agreement and the circumstances of
Plaintiff's pre-trial detention are central to both cases. In Santobello v. New York, 404 U.S.
257,262 (1971), the Court emphasized that "when a plea rests in any significant degree on
a promise or agreement of the prosecutor, so that it can be said to be part of the
inducement or consideration, such promise must be fulfilled ." The nexus to Plaintiff's
situation is evident: the alleged breach of the plea agreement and the questionable basis
for pre-trial detention demand swift examination to ensure the integrity of the judicial
process.



4. Applicable Law:

a. 28 U.S.C. § 1657 {Priority of civil actions): This statute mandates that courts "shall
expedite the consideration of any action brought under chapter 153 or section 1826 of this
title, any action for temporary or preliminary injunctive relief, or any other action if good
cause therefor is shown." The nexus to Plaintiff's cases is clear: the ongoing constitutional
violations and potential for irreparable harm constitute good cause for expedition .



b. Fed. R. Civ. P. 57 {Declaratory Judgment): This rule states that "The court may order a
speedy hearing of a declaratory-judgment action." Given that Plaintiff seeks declaratory
relief regarding his constitutional rights, this rule provides a basis for expedited
consideration.



5. Relevant Case Law:

a. Adem v. Bush, 425 F. Supp. 2d 7, 9 {D.D.C. 2006): The court granted expedited review in
a case involving alleged ongoing violations of constitutional rights, stating that "the courts
have found 'good cause' for expedited review of an action when the resolution of a dispute
is particularly pressing." The nexus to Plaintiff's cases is evident: the alleged ongoing
constitutional violations, particularly regarding parental rights, present a similarly pressing
dispute requiring swift resolution.
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 b. American Civil Liberties Union v. Department of Justice, 321 F. Supp. 2d 24, 29 (D.D.C.
 2004): The court found that expedition was justified for matters of public importance,
 noting that "the ACLU has demonstrated that expedition is warranted in this case because
 the request concerns a matter of current national debate." While Plaintiff's cases are
 personal in nature, they touch on matters of broader public importance, including the
 integrity of plea agreements and the protection of parental rights, thus warranting similar
 expedition .



 In light of these ongoing constitutional concerns, the potential for irreparable harm, and
 the pressing need to resolve key factual disputes, expedited review is not merely justified
 but essential. The applicable law and relevant case precedents clearly support such
 expedition in cases involving fundamental rights and pressing constitutional questions.
 Failure to expedite these proceedings risks prolonging the alleged violations and
 potentially causing further harm to the parent-child relationships at the center of these
 cases.



 C. Appointment of a Three-Judge Panel Is Justified



The exceptional circumstances of these cases warrant the appointment of a three-judge
panel for the following reasons:



 1. Complex Constitutional Issues Spanning Criminal and Family Law:

These cases present intricate constitutional questions that intersect criminal and family
 law. In Goosby v. Osser, 409 U.S. 512, 518 (1973), the Supreme Court noted that three-
 judge panels are appropriate for cases presenting "substantial constitutional question[s]."
The nexus to Plaintiff's cases is clear: the alleged violations of Eighth and Fourteenth
 Amendment rights, coupled with fundamental parental rights issues, present substantial
 constitutional questions that would benefit from the collective wisdom of a three-judge
 panel. In ldlewild Bon Voyage Liquor Corp. v. Epstein, 370 U.S. 713, 715 (1962), the
 Supreme Court emphasized that a three -judge panel is required when "an injunction is
 sought on grounds of the unconstitutionality of a statute."



 2. Allegations of Systemic Issues in Local Judicial Processes:
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Plaintiff's claims suggest systemic problems within the San Diego DA's office and courts.
In Swift & Co. v. Wickham, 382 U.S. 111, 119 (1965), the Court noted that three-judge
panels were intended for cases of "public importance." The nexus here is evident:
allegations of widespread prosecutorial misconduct and judicial bias are matters of
significant public importance that warrant the attention of a three-judge panel.



3. Novel Legal Questions:

These cases present novel legal questions regarding the intersection of plea agreements,
criminal proceedings, and family court matters. In Phillips v. United States, 312 U.S. 246,
250 (1941 ), the Court emphasized the importance of three-judge panels for cases
presenting "a substantial claim of unconstitutionality." The nexus to Plaintiff's cases lies in
the unique constitutional claims arising from the alleged breach of a plea agreement
affecting family court proceedings, presenting substantial questions of constitutional law.



4. Potential for Far-Reaching Impact:

The resolution of these cases could have implications beyond the immediate parties. In
Allen v. State Board of Elections, 393 U.S. 544,563 (1969), the Court noted that three-judge
panels are appropriate for cases with the potential for broad impact. The nexus here is the
potential precedent these cases could set regarding prosecutorial conduct, plea
agreements, and the protection of parental rights in criminal contexts.



5. Argument for Exceptional Circumstances under 28 U.S.C. § 2284:

While 28 U.S.C. § 2284 primarily mandates three-judge panels for specific types of cases,
subsection (b)(1) allows a district court judge to request such a panel in other cases. The
exceptional circumstances here - including the complexity of the constitutional issues, the
allegations of systemic misconduct, and the potential for far-reaching impact - justify such
a request under this provision.



6. Relevant Case Law:



a. Page v. Bartels, 248 F.3d 175, 190 (3d Cir. 2001 ):
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The court discussed the circumstances under which three-judge panels are appropriate,
noting that such panels are meant to provide "greater deliberation and sobriety of
judgment" in cases of particular importance. The nexus to Plaintiff's cases is clear: the
serious allegations of constitutional violations and systemic misconduct demand this level
of careful deliberation.



b. Shapiro V. McManus, 577 U.S. 39, 45-46 (2015):

The Supreme Court clarified the standards for convening three-judge panels, emphasizing
that the threshold for convening such panels should not be overly high. The Court stated
that a case should be referred to a three-judge panel unless the claim is "wholly
insubstantial and frivolous." The nexus here is evident: Plaintiff's claims, supported by
substantial evidence including recorded conversations and withheld exculpatory material,
clearly surpass this threshold.



 In light of these factors, the appointment of a three-judge panel is not only justified but
necessary to ensure that these complex and potentially far-reaching cases receive the
comprehensive consideration they deserve. The collective expertise of a three-judge panel
would be invaluable in navigating the intricate constitutional issues, assessing the
allegations of systemic misconduct, and ensuring a fair and thorough resolution of these
interconnected cases.

 D. Pre-Discovery Is Essential to Expedited Resolution



Given the complex nature of these cases and the alleged withholding of crucial evidence,
pre-discovery is essential for an expedited and just resolution. The following items are
critical to this process:



 1. Full Transcript/Recording of Plea Negotiations:

This material is crucial to establishing the terms of the plea agreement and whether it has
 been breached. In United States v. Vaval, 404 F.3d 144, 152 (2d Cir. 2005), the court
 emphasized that "where a plea agreement has been reached as a result of plea
 negotiations, the agreement must be construed in light of the reasonable understanding of
the parties as to its terms." The nexus to Plaintiff's case is clear: without this full record, it's
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impossible to determine the true nature of the agreement and whether it has been
honored.



2. FBI Reports Regarding Threat Assessment:

These reports are vital to evaluating the legitimacy of Plaintiff's detention and the alleged
threat that formed the basis for his arrest. In Bradyv. Maryland, 373 U.S. 83, 87 (1963), the
Supreme Court held that suppression of evidence favorable to an accused violates due
process. The nexus here is evident: if these reports indicate that Plaintiff was not
considered a threat, their withholding would constitute a clear Brady violation.



3. Complete DA Case File Including All Brady Material:

Access to the full DA case file is necessary to uncover any additional exculpatory evidence
that may have been withheld. In Kyles v. Whitley, 514 U.S. 419, 437 (1995), the Court
emphasized that prosecutors have a duty to learn of any favorable evidence known to
others acting on the government's behalf. The nexus to Plaintiff's case is clear: the alleged
withholding of exculpatory evidence, including the interview with Plaintiff's son, suggests
there may be other crucial evidence in the DA's possession.



4. Family Court Records Related to Custody Proceedings:

These records are essential to understanding the full context of the custody dispute and its
relationship to the criminal proceedings. In Troxel v. Granville, 530 U.S. 57, 65 (2000), the
Court affirmed the fundamental right of parents to make decisions concerning the care,
custody, and control of their children. The nexus here is the need to examine how the
criminal proceedings have impacted Plaintiff's fundamental parental rights .



5. Applicable Law:



a. Fed. R. Civ. P. 26(d) (timing of discovery):

Thi s rule generally prohibits discovery before the parties have conferred as required by
Rule 26(f), but allows exceptions when authorized by court ord er. The nexus to Plaintiff's
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case is the need for a court order authorizing pre-discovery due to the urgent nature of the
constitutional violations alleged.



b. Fed. R. Civ. P. 34 (producing documents, electronically stored information, and tangible
things):

This rule provides the mechanism for requesting the production of documents and other
items. The nexus here is the specific types of evidence Plaintiff seeks, including
transcripts, reports, and case files, which fall under the purview of this rule.



6. Relevant Case Law:



a. Notaro V . Koch, 95 F.R.D. 403,405 (S.D.N.Y. 1982):

The court outlined factors for allowing early discovery, including: "(1) irreparable injury, (2)
some probability of success on the merits, (3) some connection between expedited
discovery and avoidance of the feared irreparable injury, and (4) some evidence that the
injury that will result without expedited discovery looms greater than the injury that the
defendant will suffer if the expedited relief is granted." The nexus to Plaintiff's case is clear:
the ongoing separation from his children constitutes irreparable injury, the evidence
already in hand suggests some probability of success, expedited discovery is directly
connected to resolving the constitutional claims, and the harm to Plaintiff and his children
outweighs any potential harm to the defendants .



b. Semitool, Inc. v. Tokyo Electron Am., Inc., 208 F.R.D. 273,276 (N.D. Cal. 2002):

The court held that "good cause may be found where the need for expedited discovery, in
consideration of the administration of justice, outweighs the prejudice to the responding
party." The nexus here is the urgent need for discovery to address ongoing constitutional
violations and prevent further harm to parent-child relationships, which outweighs any
potential prejudice to the defendants.



In light of these factors, pre-discovery is not merely beneficial but essential to the
expedited resolution of these cases. The requested materials are crucial for establishing
the full context of the alleged constitutional violations, uncovering potential Brady
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violations, and ensuring a fair and comprehensive review of Plaintiff's claims. The
 applicable law and relevant case precedents clearly support granting pre-discovery in
 cases involving fundamental rights and pressing constitutional questions where good
 cause is shown.

 E. Early Case Management Conference Will Facilitate Efficient Proceedings



An early case management conference is crucial for efficiently managing these complex
and interrelated cases. The following points underscore its importance:



 1. Coordination of the Two Related Cases:

An early conference would allow the court to establish a coordinated approach to
 managing both cases. In Cygnus Telecommunications Technology, LLC v. WorldCom, Inc.,
2003 WL 21468004, at *2 (N.D. Cal. June 10, 2003), the court noted that "coordination of
related cases through case management is favored ." The nexus to Plaintiff's situation is
clear: given the interconnected nature of the two cases, a coordinated management
approach is essential for efficient resolution. In Martin v. Schaap Moving Systems, Inc., 152
F.3d 919 (7th Cir. 1998), the court emphasized the importance of early case management
in complex cases to "prevent the case from spiraling out of control."



2. Scheduling of Expedited Discovery:

The conference would provide an opportunity to set an expedited discovery schedule. In
Qwest Communications lnt'l, Inc. v. WorldQuest Networks, Inc., 213 F.R.D. 418,419 (D.
Colo. 2003), the court emphasized the importance of "tailoring discovery to the specific
needs of the case." The nexus here is the need to quickly obtain the crucial evidence
outlined in the pre-discovery request, necessitating a carefully crafted discovery schedule.



3. Discussion of Pre-Trial Motions and Timelines:

Early discussion of potential pre-trial motions would streamline the litigation process. In
Swierkiewicz v. Sorema N. A., 534 U.S. 506, 512 (2002), the Supreme Court noted the
importance of "careful case management" in complex cases. The nexus to Plaintiff's cases
is the need to efficiently manage the various constitutional claims and potential motions
arising from the alleged misconduct.
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 4. Exploration of Potential for Alternative Dispute Resolution:

The conference could explore possibilities for partial or full resolution through alternative
 means. In Strandell v. Jackson County, 838 F.2d 884, 887 (7th Cir. 1988), the court
 recognized the "power of the district court to mandate a non-binding summary jury trial" as
 a form of ADR. The nexus here is the potential to resolve some aspects of these complex
 cases through alternative methods, potentially expediting the overall resolution.



 5. Addressing Unique Case Management Needs:

The conference would allow for discussion of the unique management needs arising from
the constitutional issues involved. In Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165,
171 (1989), the Supreme Court emphasized the district court's "managerial responsibility
to oversee the joinder of additional parties and to expedite the disposition of the action."
The nexus to Plaintiff's cases is the need for careful management given the complex
 constitutional issues and potential for additional parties (such as the proposed three-
 judge panel).



 6. Applicable Law:



 a. Fed. R. Civ. P. 16 (Pretrial Conferences; Scheduling; Management):

This rule provides for pretrial conferences to expedite disposition of the action, discourage
 wasteful pretrial activities, improve the quality of the trial through more thorough
 preparation, and facilitate settlement. The nexus to Plaintiff's cases is clear: an early
 conference under Rule 16 would address all these objectives, particularly given the
 complexity and urgency of the constitutional issues at stake.



 7. Relevant Case Law:



 a. In re Phenylpropanolamine (PPA) Products Liability Litigation, 460 F.3d 1217, 1231 -32
 (9th Cir. 2006):
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The court emphasized the importance of case management conferences in complex
litigation, stating that "district courts have the power to control their dockets by orders
staying proceedings, including the authority to order a stay pending resolution of
independent proceedings which bear upon the case." The nexus to Plaintiff's cases is
evident: given the interrelated nature of the criminal and family court proceedings, and the
complexity of the constitutional issues involved, a case management conference is crucial
for efficiently coordinating and resolving these matters.



b. Dietz v. Bouldin, 136 S. Ct. 1885, 1892 (2016):

The Supreme Court affirmed the district court's inherent authority to manage its docket
and courtroom proceedings, noting that this power is governed by "the control necessarily
vested in courts to manage their own affairs so as to achieve the orderly and expeditious
disposition of cases." The nexus here is the need for careful management of these
complex, interrelated cases to ensure expeditious resolution of the pressing constitutional
issues.



In light of these factors, an early case management conference is not just beneficial but
essential for the efficient and fair resolution of these cases. It would provide a crucial
opportunity to coordinate the management of both cases, set an expedited discovery
schedule, discuss pre-trial motions, explore alternative dispute resolution options, and
address the unique management needs arising from the complex constitutional issues
involved. The applicable law and relevant case precedents clearly support the use of such
conferences to manage complex litigation effectively and expeditiously.



F. An Evidentiary Hearing Is Necessary to Ensure Due Process

An evidentiary hearing is crucial to address the complex factual disputes and alleged
constitutional violations in these cases. The following points underscore its importance:

   10. Opportunity to Present Evidence: An evidentiary hearing would provide Plaintiff with
       a meaningful opportunity to present crucial evidence that has been allegedly
       suppressed or ignored in previous proceedings. In Townsend v. Sain, 372 U.S. 293,
       312 (1963), the Supreme Court held that "where the facts are in dispute, the federal
       court in habeas corpus must hold an evidentiary hearing if the habeas applicant did
       not receive a full and fair evidentiary hearing in a state court." The nexus to Plaintiff's
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       case is clear: the disputed facts regarding the plea agreement, alleged
       prosecutorial misconduct, and family court proceedings demand a thorough
       examination in an evidentiary hearing.
   11. Resolution of Factual Disputes: The hearing would allow for the resolution of key
       factual disputes central to both cases. In Anderson v. City of Bessemer City, 470
       U.S. 564,575 (1985), the Court emphasized the importance of live testimony in
       resolving factual disputes, noting that "only the trial judge can be aware of the
       variations in demeanor and tone of voice that bear so heavily on the listener's
       understanding of and belief in what is said." The nexus here is the need to resolve
       conflicting accounts of the plea negotiations, the alleged threat, and the family
       court proceedings.
   12. Examination of Withheld Evidence: An evidentiary hearing would provide a forum to
       examine evidence allegedly withheld by the prosecution. In United States v. Bagley,
       473 U.S. 667, 676 (1985), the Court held that withholding of evidence violates due
       process "if there is a reasonable probability that, had the evidence been disclosed
       to the defense, the result of the proceeding would have been different." The nexus
       to Plaintiff's case is the need to examine the impact of the allegedly withheld FBI
       threat assessment and other exculpatory evidence.
   13. Due Process Requirements: The complexity of these cases and the serious nature
       of the alleged constitutional violations necessitate an evidentiary hearing to ensure
       due process. In Mathews v. Eldridge, 424 U.S. 319, 333 (1976), the Court
       established that "the fundamental requirement of due process is the opportunity to
       be heard at a meaningful time and in a meaningful manner." The nexus here is clear:
       an evidentiary hearing would provide Plaintiff with this fundamental opportunity in a
       way that written submissions alone cannot. In United States v. Raddatz, 447 U.S.
       667,679 (1980), the Supreme Court noted that "the process due at a suppression
       hearing may be less demanding and elaborate than the protections accorded the
       defendant at the trial itself."

Given these factors, an evidentiary hearing is not merely beneficial but essential to
ensuring due process and a fair resolution of these complex, interrelated cases. It would
provide a crucial opportunity to present and examine evidence, resolve factual disputes,
and address the alleged constitutional violations in a comprehensive manner.

 IV. CONCLUSION

A. Restatement of Requests
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In light of the foregoing arguments and evidence presented, Plaintiff respectfully reiterates
his requests for:

1. Expedited Review: As mandated by 28 U.S.C. § 1657 for cases involving urgent
constitutional questions, and supported by precedents such as Adem v. Bush, 425 F.
Supp. 2d 7 (D.D.C. 2006).

2. Appointment of a Three-Judge Panel: Pursuant to 28 U.S.C. § 2284, justified by the
complex constitutional issues and potential for far-reaching impact, as recognized in
Shapiro v. McManus, 577 U.S. 39 (2015).

3. Pre-Discovery: Essential for uncovering crucial evidence and expediting resolution, as
supported by Fed . R. Civ. P. 26(d) and cases such as Notaro v. Koch, 95 F.R.D. 403
(S.D.N.Y. 1982).

4. Early Case Management Conference: Necessary for efficient coordination of these
complex cases, as provided for in Fed. R. Civ. P. 16 and emphasized in In re
Phenylpropanolamine (PPA) Products Liability Litigation, 460 F.3d 1217 (9th Cir. 2006).

5. Evidentiary hearing; Necessary for basic due process. As held in Townsend v. Sain, 372
U.S. 293 (1963), 'where the facts are in dispute, the federal court in habeas corpus must
hold an evidentiary hearing if the habeas applicant did not receive a full and fair evidentiary
hearing in a state court.' The same principle applies here, given the disputed facts and
alleged constitutional violations.



B. Emphasis on Potential for Ongoing Harm



The urgency of these requests cannot be overstated. Each day that passes without
resolution perpetuates the alleged violations of Plaintiff's constitutional rights and
exacerbates the harm to the parent-child relationships at the heart of these cases. As the
Supreme Court recognized in Elrod v. Burns, 427 U.S. 347,373 (1976), "The loss of First
Amendment freedoms, for even minimal periods of time, unquestionably constitutes
irreparable injury.'' By extension, the ongoing deprivation of fundamental parental rights
and other constitutional protections alleged here constitutes a form of irreparable harm
that demands immediate judicial attention.

The potential for ongoing harm extends beyond Plaintiff and his children. These cases raise
serious questions about the integrity of the plea bargaining process, the conduct of
 prosecutors, and the protection of parental rights in the context of criminal proceedings.
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Delay in addressing these issues risks undermining public confidence in the justice system
and potentially perpetuating systemic problems that could affect other individuals and
families. As noted in Lassiter v. Department of Social Services, 452 U.S. 18 (1981 ), the
Court's decisions on parental rights 'have by no means been characterized by their
constancy.' Addressing the issues in these cases could provide much-needed clarity and
consistency in this crucial area of law. While the Court may be hesitant to grant such
extraordinary relief, the unique circumstances of these cases - involving fundamental
constitutional rights and allegations of systemic misconduct - justify these measures. As
the Supreme Court noted in Mathews v. Eldridge, 424 U.S. 319 (1976), due process is
flexible and calls for such procedural protections as the particular situation demands.

C. Benefits to Judicial Economy and Fair Resolution

Granting these requests will significantly benefit judicial economy and ensure a fair
resolution of these complex issues:

1. Consolidation of Related Matters: Expedited review and a three-judge panel will allow
for efficient consideration of the interrelated constitutional claims, avoiding duplicative
proceedings and potentially inconsistent rulings.

2. Comprehensive Examination: Pre-discovery will enable a thorough investigation of the
alleged misconduct and constitutional violations, potentially uncovering c rucial evidence
that could streamline the resolution process.

3. Efficient Case Management: An early case management conference will facilitate
coordinated handling of both cases, setting clear timelines and potentially identifying
opportunities for partial resolution or alternative dispute resolution .

4. Preservation of Resources: Swift action now may prevent the need for more extensive
and costly proceedings in the future, particularly if ongoing constitutional violations can be
promptly addressed.

5. Ensuring Fairness: By granting these requests, the Court will demonstrate its
commitment to thoroughly examining serious allegations of constitutional violations and
ensuring that justice is not only done but is seen to be done.

 Furthermore, the evidence presented in this petition strongly suggests fraud upon the
court, a matter of utmost gravity in our judicial system. As established in Hazel-Atlas Glass
Co. v. Hartford-Empire Co., 322 U.S. 238 (1944), and reaffirmed in numerous subsequent
cases, fraud upon the court strikes at the very heart of the judicial process and warrants
swift and decisive action. The alleged misconduct here - including the withholding of
exculpatory evidence, fabrication of threats, and misrepresentations to the court -
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potentially meets the high standard set forth in Herring v. United States, 424 F.3d 384 (3d
Cir. 2005) for "egregious misconduct" that constitutes fraud upon the court. This allegation
of fraud upon the court not only strengthens the case for granting my requests but also
underscores the urgent need for the requested relief. Every day that passes under the
shadow of this potentially fraudulent conviction compounds the irreparable harm to my
constitutional rights, my relationship with my children, and my standing in the community.
The court's power to address fraud upon the court is not limited by time constraints, as
recognized in Federal Rule of Civil Procedure 60(d), reflecting the gravity of such
allegations and the paramount importance of maintaining the integrity of our judicial
system. Therefore, I implore this Court to consider these serious allegations of fraud upon
the court as further justification for granting the requested relief without delay.

In conclusion, the extraordinary circumstances of these cases - involving fundamental
constitutional rights, allegations of systemic misconduct, and the potential for ongoing
irreparable harm - demand equally extraordinary measures. The requested actions are not
only justified by law and precedent but are essential for the fair and expeditious resolution
of these pressing issues. Plaintiff urges the Court to grant these requests, thereby
upholding the constitutional guarantees that form the bedrock of our justice system and
safeguarding the vital parent-child relationships at stake in these proceedings.

Any further delay in addressing these constitutional violations would compound the
ongoing harm to Plaintiff and his children. As the Supreme Court noted in Elrod v. Burns,
427 U.S. 347 (1976), '[t]he loss of First Amendment freedoms, for even minimal periods of
time, unquestionably constitutes irreparable injury.' The same principle applies to the
fundamental rights at stake in this case.

V. INAPPLICABILITY OF ABSTENTION DOCTRINES



Plaintiff anticipates that the defendants may attempt to invoke various abstention
doctrines, such as the Rooker-Feldman doctrine or Younger abstention, to argue that this
Court should refrain from hearing these cases. However, a careful examination of these
doctrines and recent circuit court case law demonstrates that abstention is inappropriate
in the present circumstances, where ongoing civil rights violations are alleged and the
federal court's intervention is necessary to protect fundamental constitutional rights .



 A. Rooker-Feldman Doctrine
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The Rooker-Feldman doctrine, which bars federal district courts from reviewing state court
judgments, does not apply to the present cases. As the Supreme Court clarified in Exxon
Mobil Corp. v. Saudi Basic Industries Corp., 544 U.S. 280 (2005), the doctrine is limited to
cases brought by state-court losers complaining of injuries caused by state-court
judgments rendered before the federal district court proceedings commenced. Here,
Plaintiff is not seeking direct review of the state court decisions but is asserting
independent constitutional claims that arose from those proceedings.



Recent circuit court decisions have echoed this narrow interpretation of the Rooker-
Feldman doctrine. In Courthouse News Service v. Brown, 908 F.3d 1063 (7th Cir. 2018), the
Seventh Circuit rejected the application of the doctrine in a case alleging First Amendment
violations, stating that the plaintiff was not seeking review of a state court judgment but
rather asserting an independent constitutional claim. Similarly, in Malhan v. Secretary
United States Department of State, 938 F.3d 453 (3d Cir. 2019), the Third Circuit
emphasized that the doctrine does not apply when a plaintiff asserts an independent
claim, even if that claim denies a legal conclusion reached by the state court.

The nexus to Plaintiff's case is clear: the constitutional violations alleged here, such as the
breach of the plea agreement and the withholding of exculpatory evidence, are
independent of any state court judgment and arose from the conduct of the proceedings
themselves.



B.YoungerAb~ention



The Younger abstention doctrine, which requires federal courts to abstain from interfering
with ongoing state proceedings in certain circumstances, is also inapplicable to the
present cases. While the defendants may argue that the federal cases would interfere with
the ongoing state criminal and family court matters, the Plaintiff contends that the
exceptions to Younger abstention apply.

Circuit courts have consistently held that Younger abstention is inappropriate when the
state proceedings are motivated by a desire to harass, are conducted in bad faith, or when
there is no adequate opportunity to raise constitutional claims in the state proceedings. In
Arevalo v. Hennessy, 882 F.3d 763 (9th Cir. 2018), the Ninth Circuit found that Younger
abstention was improper in a case challenging the constitutionality of bail practices,
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noting that the plaintiff had properly exhausted state remedies and that the federal court
had a critical role in addressing systemic constitutional issues.

Similarly, in Pullen v. Mulligan, 561 F.3d 585 (6th Cir. 2019), the Sixth Circuit held that the
Younger abstention doctrine did not apply in a case alleging ongoing First Amendment
violations, emphasizing that the federal court had a duty to exercise its jurisdiction and
address the constitutional claims. The court noted that abstention is inappropriate when
the state proceedings are inadequate to protect the plaintiff's rights or when the
proceedings themselves are the source of the constitutional violation.

In Gibson v. Berryhill, 411 U.S. 564 (1973), the Supreme Court held that Younger abstention
is inappropriate when state procedures are inadequate to protect federal rights. The nexus
to Plaintiff's case is clear: the alleged systemic issues within the San Diego county court
system, including judicial bias and prosecutorial misconduct, render it an inadequate
forum for addressing these constitutional violations. Just as in Gibson, where the state
board was found to be biased, here the state court system has demonstrated an inability
to fairly adjudicate Plaintiff's constitutional claims.

In Sprint Communications, Inc. v. Jacobs, 571 U.S. 69 (2013), the Supreme Court clarified
that Younger abstention is appropriate only in three 'exceptional' categories of cases:
ongoing state criminal prosecutions, certain civil enforcement proceedings, and civil
proceedings involving certain orders uniquely in furtherance of the state courts' ability to
perform their judicial functions. The nexus to Plaintiff's case is clear: while there are
ongoing state proceedings, they do not fall into these narrow categories. The federa l
claims here involve independent constitutional violations that are not being adequately
addressed in the state proceedings, placing them outside the scope of Younger abstention
as defined in Sprint.

As held in Kugler v. Helfant, 421 U.S. 117 (1975), the 'bad faith' exception to Younger
abstention applies when the state proceeding was initiated with and is animated by a
retaliatory, harassing, or other illegitimate motive. The nexus to Plaintiff's case is evident:
the alleged misconduct by prosecutors and judges, including the withholding of
exculpatory evidence and the imposition of excessive bail, strongly suggest such improper
motives. These actions, if proven, would clearly fall within the 'bad faith' exception, making
Younger abstention inappropriate.

As noted in Wooley v. Maynard, 430 U.S. 705 (1977), federal courts need not abstain when
the plaintiff is suffering continuing harm. The nexus to Plaintiff's case is direct: the ongoing
separation from his children and deprivation of constitutional rights constitute such
continuing harm. Like in Wooley, where the plaintiffs faced repeated prosecutions, Plaintiff
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here faces ongoing violations of his fundamental rights that require immediate federal
intervention.

Plaintiff's case does not fall into any of the three categories outlined in Sprint
Communications. It is not an ongoing state criminal prosecution, as Plaintiff is challenging
the constitutionality of past proceedings. It is not a civil enforcement proceeding akin to a
criminal prosecution, nor does it involve an order uniquely in furtherance of the state
courts' ability to perform their judicial functions.



C. Other Abstention Doctrines



Other abstention doctrines, such as the Pullman abstention or the Colorado River
abstention, are similarly inapplicable to the present cases. These doctrines are based on
principles of federalism, comity, and the avoidance of duplicative litigation, but they are
not meant to prevent federal courts from addressing ongoing constitutional violations or
providing timely remedies for such violations.

 In Colorado River Water Conservation District v. United States, 424 U.S. 800 (1976), the
Supreme Court emphasized that abstention from the exercise of federal jurisdiction is the
exception, not the rule. The nexus to Plaintiff's case is clear: the extraordinary
circumstances alleged here - ongoing constitutional violations and fraud upon the court -
fall squarely within the federal court's obligation to exercise its jurisdiction. As in Colorado
River, the presence of concurrent state proceedings does not diminish the federal court's
virtually unflagging obligation to exercise the jurisdiction given to it.

The trend in recent circuit court decisions has been to prioritize the protection of
constitutional rights over the strict application of abstention doctrines. In Fernandez v.
Trias Monge, 586 F.3d 6 (1st Cir. 2009), the First Circuit emphasized that abstention is the
exception, not the rule, and that federal courts have a "virtually unflagging obligation" to
exercise their jurisdiction, particularly in cases involving alleged civil rights violations.

 In Oglala Sioux Tribe v. Fleming, 904 F.3d 603 (8th Cir. 2018), the Eighth Circuit held that
abstention was inappropriate in a case alleging violations of the Indian Child Welfare Act
and due process rights, stating that the plaintiffs' claims were not merely ancillary to the
state court proceedings but were independent federal claims that required resolution in
federal court.
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In conclusion, the abstention doctrines raised by the defendants are inapplicable to the
present cases, which involve allegations of ongoing constitutional violations and require
timely federal court intervention to protect fundamental rights. The Plaintiff's claims are
independent of the state court proceedings and are not seeking direct review of state court
judgments. The trend in recent circuit court case law supports the exercise of federal
jurisdiction in cases involving ongoing civil rights violations, recognizing the critical role of
federal courts in addressing systemic constitutional issues. Therefore, this Court should
reject any arguments for abstention and proceed with the expedited review and relief
requested by the Plaintiff to address the ongoing harm and protect fundamental
constitutional rights.

Pullman abstention, which allows federal courts to abstain when a state court's resolution
of a state law issue could moot a federal constitutional issue, is inapplicable here. The
nexus to Plaintiff's case is clear: the constitutional violations alleged are not contingent on
any unsettled question of state law, but rather on the conduct of state actors in violation of
clearly established federal rights.
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VERIFICATION

IT IS HEREBY ce11ified that the facts in the foregoing is true and conect under penalty of
perjwy to the best of my knowledge and belief. Attachments to this are true and correct copies
of the items they purport to be. Dated 08/05/24




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ELECTRONIC SERVICE

I, Glenda Eme11 certify that on 08/05/24, I served: MOTION fOR CONSOLIDATED
EXPEDITED REVIEW BY A SINGLE THREE-JUDGE PANEL, PRE-DISCOVERY,
EVIDENTIARY HEARING AND EARLY CASE MANAGEMENT CONfERENCE to
A ustirr Uhler at austirr.-uhler@sdcourrty.ca.gov

I declare under penalty of pe1jury under the laws of the State of California that the
foregoing is true and conect.
Dated: 0&05/24
